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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

  EARL PARRIS, JR.,
               Plaintiff,
  v.                                           CIVIL ACTION NO.
                                               4:21-cv-040-TWT

  3M COMPANY, et al,
               Defendants.


                             SCHEDULING ORDER

       The above-entitled action is presently before the Court pursuant to the filing

of the parties’ Joint Preliminary Report and Discovery Plan [Doc. 180]. The Court

has reviewed and approves the parties’ Joint Preliminary Report and Discovery Plan.

In the report, the parties have indicated the need for additional time beyond the

assigned discovery track to complete discovery. Should there be a further extension

of time of the discovery deadline, the deadlines for motions for summary judgment

and filing of the Consolidated Pretrial Order shall be adjusted accordingly.

Accordingly,

       IT IS HEREBY ORDERED that the request for an extension of the discovery

deadline in this case is GRANTED, and the discovery deadline in this case is

outlined in the attached Exhibit A. Permission to amend the pleadings must be

obtained by the Court prior to filing. The parties may not evade the page limitations
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of Local Rule 7.1(D) by filing multiple Motions for Summary Judgment after the

close of the discovery period.

      IT IS FURTHER ORDERED that the parties are directed to adhere to the

deadlines outlined in Exhibit A. Any motions requesting extensions of time must

be made prior to the existing deadline and will be granted only in exceptional cases

where the circumstances on which the request is based did not exist or the attorney(s)

could not have anticipated that such circumstances would arise at the time the

Preliminary Planning Report was filed. Failure to comply with this order, may

result in the imposition of sanctions, including the dismissal of this action.

      Within 14 days from the entry of this Order, counsel for the parties are

directed to confer and determine whether any party will likely be requested to

disclose or produce substantial information from electronic or computer-based

media.    If so, the parties are directed to determine: (a) whether disclosure or

production will be limited to data reasonably available to the parties in the ordinary

course of business; (b) the anticipated scope, cost and time required for disclosure

or production of data beyond what is reasonably available to the parties in the

ordinary course of business; (c) the format and media agreed to by the parties for the

production of such data as well as agreed procedures for such production; (d)

whether reasonable measures have been taken to preserve potentially discoverable

data from alteration or destruction in the ordinary course of business or otherwise;


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and (e) whether there are other problems which the parties anticipate that may arise

in connection with electronic or computer-based discovery. Counsel are directed to

the American Bar Association Section of Litigation Civil Discovery Standards ' 29

(August 1999) (available upon request from the Court) for guidance.             Any

agreements as to the foregoing shall be set forth in a written agreement or consent

order. If there are substantial disagreements, a discovery conference with the Court

should be requested.

      Counsel are directed to comply with the Federal Bar Association=s Standards

for Civility in Professional Conduct (1998) (available from the FBA web site or upon

request from the Court). In the conduct of depositions, counsel are ordered to comply

with Federal Rule of Civil Procedure 30(c)(2) (“An objection must be stated

concisely in a nonargumentative and nonsuggestive manner. A person may instruct

a deponent not to answer only when necessary to preserve a privilege, to enforce a

limitation ordered by the court, or to present a motion under Rule 30(d)(3).”); and

may be sanctioned for obstructionist tactics pursuant to Rule 30(d)(2)(“The court

may impose an appropriate sanction—including the reasonable expenses and

attorney’s fees incurred by any party—on a person who impedes, delays, or

frustrates the fair examination of the deponent.”).

      Parties wishing any document filed as part of the record under seal must first

present a motion and/or consent order regarding said document to the Court. The


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Clerk of Court is not authorized to accept for filing any document designated as

sealed without an order from the Court approving specific documents to be filed

under seal.

      SO ORDERED, this 24th day of May, 2022.




                                           THOMAS W. THRASH, JR.
                                           UNITED STATES DISTRICT JUDGE




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                      UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION
EARL PARRIS, JR., individually, and       )
on behalf of a Class of persons similarly )
situated,                                 )
                                          )
                   Plaintiff,             )
                                          )
                                          )
CITY OF SUMMERVILLE,                      )
                                            Civil Action No.
GEORGIA,                                  )
                                            4:21-cv-40-TWT
                  Intervenor-Plaintiff,   )
                                          )
       v.                                 )
                                          )
3M COMPANY, et al.,                       )
                                          )
                   Defendants.            )


                          SCHEDULING ORDER

           EVENT                                           DEADLINE
1.         Initial Disclosures                             May 23, 2022.
2.         Beginning of Fact Discovery Period (including   May 23, 2022.
           discovery regarding class certification)
3.         Amended Pleadings to Add Parties as of Right   Any amended
                                                          pleadings to add
                                                          additional parties as
                                                          of right to be filed
                                                          within 180 days of
                                                          entry of this Order.
4.         Parties to confer and submit Proposed Briefing 120 days after fact
           Order (or competing proposals if no            discovery begins.
           agreement) regarding the number of briefs,
           page limitations, and related issues for Class
           Certification, Summary Judgment, and
           Daubert Motions


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    5.         Fact Discovery Closes                                    360 days after fact
                                                                        discovery begins.
    6.         Plaintiffs’ Expert Disclosures (Class                    60 days after fact
               Certification and Merits)1                               discovery closes.
    7          Plaintiff’s Class Certification Motion                   30 days after
                                                                        Plaintiffs’ Expert
                                                                        Disclosures
    8.         Depositions of Plaintiffs’ Experts                       30 days after
                                                                        Plaintiff’s Class
                                                                        Certification
                                                                        Motion
    9.         Defendants’ Expert Disclosures (Class                    Within 30 days of
               Certification and Merits)                                deadline for
                                                                        Depositions of
                                                                        Plaintiffs’ Experts
    10.        Defendants’ Response to Plaintiff’s Class                30 days after
               Certification Motion                                     Defendants’ Expert
                                                                        Disclosures
    11.        Depositions of Defendants’ Experts                       30 days after
                                                                        Defendants’
                                                                        Response to
                                                                        Plaintiff’s Class
                                                                        Certification
                                                                        Motion
    12.        Rebuttal Experts                                         Within 30 days of
                                                                        the date for
                                                                        completion of
                                                                        Depositions of
                                                                        Defendants’
                                                                        Experts, any party
                                                                        may serve Rebuttal
                                                                        Expert Reports to
                                                                        address expert
                                                                        opinions disclosed
                                                                        for the first time
                                                                        after that party’s

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  For all deadlines contained herein, “Plaintiff” shall pertain to Plaintiff Earl Parris, Jr. and
Intervenor-Plaintiff City of Summerville, Georgia, except those deadlines pertaining to class
certification, which shall pertain only to Plaintiff Earl Parris, Jr.
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                                                       Expert Reports
                                                       were served.
                                                       Depositions of
                                                       Rebuttal Experts, if
                                                       any, to be
                                                       completed within
                                                       30 days of service
                                                       of Rebuttal Expert
                                                       Reports.
13.       Plaintiff’s Reply in Support of Class        Within 30 days of
          Certification Motion                         deadline for
                                                       Depositions of
                                                       Rebuttal Experts
14.       Motions for Summary Judgment/Daubert         120 days after
          Motions                                      Plaintiff’s Reply in
                                                       Support of Class
                                                       Certification
15.       Responses to Motions for Summary             Within 30 days of
          Judgment/Daubert Motions                     Motions for
                                                       Summary
                                                       Judgment/Daubert
                                                       Motions
16.       Replies in Support of Motions of Summary     Within 30 days of
          Judgment/Daubert Motions                     Responses to
                                                       Motions for
                                                       Summary
                                                       Judgment/Daubert
                                                       Motions
17.       Trial Date                                    TBD
